          Case
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 2
                                UNITED STATES DISTRICT COURT
 3
                                        DISTRICT OF NEVADA
 4
     FEDERAL TRADE COMMISSION,                      )
 5   Plaintiff,                                     )       Case No: 17-cv-02000-APG-GWF
                                                    )
 6   v.                                             )
                                                    )
 7   REVMOUNTAIN, LLC, a Nevada limited             )
     liability company, et al.,                     )       [Proposed] STIPULATED ORDER TO
 8                                                  )       RELEASE FUNDS FOR DEFENDANT
                             Defendants.            )       DANIELLE FOSS’S LIVING EXPENSES
 9                                                  )

10
            Plaintiff, the Federal Trade Commission (“FTC”), and Defendant Danielle Foss have
11
     jointly moved for entry of this Order releasing funds from the asset freeze ordered in the
12
     Temporary Restraining Order and preliminary injunctions in this matter. Finding good cause for
13
     a limited release of funds to temporarily meet Defendant Foss’s living expenses, the Court orders
14
     as follows:
15
            IT IS ORDERED that Blue Federal Credit Union shall release $10,000 to Danielle Foss
16
     from the frozen account ending in -0014.
17
            IT IS FURTHER ORDERED that Defendant Foss is to use a portion of the released
18
     funds to pay three months’ mortgage payments on her primary residence, held by Caliber Home
19
     Loans Inc., for total mortgage payments of $5,350.23.
20
            IT IS FURTHER ORDERED that Defendant Foss is to expend released funds that remain
21
     after she pays her mortgage for reasonable, ordinary, and necessary living expenses for three
22
     months following the release.
23

24          SO STIPULATED:
25          FOR THE PLAINTIFF FEDERAL TRADE COMMISSION:
26
            /s/ Sarah Waldrop                      SO ORDERED this 5th day of September, 2017.
27          SARAH WALDROP
                                                            __________________________________
28                                                          UNITED STATES DISTRICT JUDGE


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     Case
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      FOR DEFENDANT DANIELLE FOSS:
 5
      /s/ Rachel Hirsch
 6    RACHEL HIRSCH
 7    Ifrah Law PLLC
      1717 Pennsylvania Ave. NW, Suite 650
 8    Washington, DC 20006
      Tel. 202-524-4145
 9    rhirsch@ifrahlaw.com
10

11

12

13    IT IS SO ORDERED, this _________ day of ________________, 2017.

14

15

16                                     ____________________________________________
                                       ANDREW P. GORDON
17                                     UNITED STATES DISTRICT JUDGE
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